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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLORADO

 In re:                                     )
                                            )
 11380 SMITH ROAD, LLC,                    )     Case No. 18-10965 TBM
 EIN: XX-XXXXXXX,                          )     Chapter 11
                                            )
         Debtor.                            )
                                            )
  _____________________________________________________________________________

 ORDER GRANTING MOTION TO APPROVE STIPULATION REGARDING SECOND
                AMENDED PLAN OF REORGANIZATION


       THIS MATTER is before the Court on the "Motion to Approve Stipulation Regarding
 Second Amended Plan of Reorganization" (Docket No. 132, the “Motion”).1 Having reviewed
 the Motion, the Stipulation (Docket No. 132-1, the "Stipulation") and the Second Amended Plan
 of Reorganization (Docket No. 123, the "Second Amended Plan"), THE COURT HEREBY
 ORDERS THAT:

             1.       The Motion is granted.

             2.       The Stipulation is approved.

             3.       The terms of the Stipulation are incorporated by reference into the Second
                      Amended Plan.


DATED: October 31, 2018.


                                                        BY THE COURT:



                                                        _____________________________________
                                                        Honorable Thomas B. McNamara
                                                        United States Bankruptcy Judge




 1
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
